                                                                                                                                              8/31/17 6:40PM




                                                               United States Bankruptcy Court
                                                                            District of Arizona
            JEFFREY MARTIN STEVENS
 In re      JILL ANNETTE STEVENS                                                                              Case No.
                                                                                      Debtor(s)               Chapter    13



                              Declaration of Evidence of Employers' Payments Within 60 Days

                        Attached hereto are copies of all payment advices, pay stubs or other evidence of payment received by
                        the debtor from any employer within 60 days prior to the filing of the petition;

                        Debtor has received no payment advices, pay stubs or other evidence of payment from any employer
                        within 60 days prior to the filing of the petition; or

                        Debtor has received the following payments from employers within 60 days prior to the filing of the
                        petition:     .

            Debtor,        JEFFREY MARTIN STEVENS                       , declares the foregoing to be true and correct under penalty of perjury.



                        Attached hereto are copies of all payment advices, pay stubs or other evidence of payment received by
                        the debtor from any employer within 60 days prior to the filing of the petition;

                        Debtor has received no payment advices, pay stubs or other evidence of payment from any employer
                        within 60 days prior to the filing of the petition; or

                        Debtor has received the following payments from employers within 60 days prior to the filing of the
                        petition:     .

            Debtor, JILL ANNETTE STEVENS                             , declares the foregoing to be true and correct under penalty of perjury.


 Date August 18, 2017                                                     Signature   /s/ JEFFREY MARTIN STEVENS
                                                                                      JEFFREY MARTIN STEVENS
                                                                                      Debtor


 Date August 18, 2017                                                     Signature   /s/ JILL ANNETTE STEVENS
                                                                                      JILL ANNETTE STEVENS
                                                                                      Joint Debtor

If attaching pay stubs or other payment advices, it is your responsibility to redact (black out) any social security numbers,
names of minor children, dates of birth or financial account numbers before attaching them to this document.




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